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14

15                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
16                                    ___________________ DIVISION

17   TESLA, INC.,                                        Case No.
18                    Plaintiff,                         PLAINTIFF TESLA, INC.’S ORIGINAL
19                                                       COMPLAINT FOR TRADE SECRET
            v.                                           MISAPPROPRIATION, BREACH OF
20                                                       CONTRACT, AND UNFAIR
     MATTHEWS INTERNATIONAL                              COMPETITION
21   CORPORATION, a Pennsylvania corporation,
                                                         DEMAND FOR JURY TRIAL
22                     Defendant.
23

24

25          Plaintiff Tesla, Inc. (“Tesla”), by way of this Original Complaint against Matthews

26   International Corporation (“Matthews”), states and alleges as follows:

27

28

                                                                              PLAINTIFF’S ORIGINAL COMPLAINT
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 1                                          NATURE OF ACTION

 2          1.      This is an action for Matthews’ willful and malicious misappropriation of Tesla’s

 3   confidential trade secrets, as well as for unfair competition, both relating to Matthews’ misuse and

 4   publication of trade secrets entrusted by Tesla to Matthews in confidence.

 5                                                  PARTIES

 6          2.      Plaintiff Tesla is a Texas company (recently redomesticated from Delaware), having

 7   its principal place of business at 1 Tesla Road, Austin, Texas.

 8          3.      On information and belief, Defendant Matthews International Corporation is a

 9   corporation organized and incorporated under the laws of the Commonwealth of Pennsylvania,

10   having its principal place of business at Two Northshore Center, Pittsburgh, Pennsylvania.

11                                      JURISDICTION AND VENUE

12          4.      This Court has subject matter jurisdiction over this case because it presents claims

13   arising under federal trade secret law. 28 U.S.C. § 1331; 18 U.S.C. § 1836(c). This Court has

14   supplemental jurisdiction over the other claims presented herein because they form part of the same

15   case or controversy. 28 U.S.C. § 1367(a).

16          5.      This Court also has subject matter jurisdiction over this case because the matter in

17   controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and because the

18   matter in controversy is between citizens of different States in which a citizen of a foreign state is

19   an additional party. See 28 U.S.C. § 1332(a).

20          6.      Matthews has consented in writing to the personal jurisdiction of courts in the State

21   of California, which is sufficient to confer this Court with personal jurisdiction over Matthews.

22   SEC v. Blazon Corp., 609 F.2d 960, 965 (9th Cir. 1979). Exhibit A to this Original Complaint is an

23   agreement, executed by Matthews, bearing the title “Mutual Non-Disclosure Agreement.” Exhibits

24   B and C are similar agreements, also executed by Matthews. Paragraph 12 of each agreement

25   identifies courts in California as appropriate forums for disputes “arising out of or relating to” that

26   agreement and waives any challenge to jurisdiction.
27          7.      Even had Matthews not consented in writing to the personal jurisdiction of courts in

28   the State of California, those courts would have personal jurisdiction over Matthews as to Tesla’s

                                                         2                    PLAINTIFF’S ORIGINAL COMPLAINT
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 1   claims because Matthews has committed acts within and specifically directed to the State of

 2   California giving rise to those claims and has thus established minimum contacts with California

 3   such that the exercise of specific personal jurisdiction would not offend traditional notions of fair

 4   place and substantial justice. Matthews employees regularly traveled to California, and otherwise

 5   directed communication to California, as part of their improper activities. This included, but is not

 6   limited to, repeated trips to California over the last four years by Matthews’ Chief Technology

 7   Officer Gregory Babe, frequently accompanied by other employees of Matthews and/or its

 8   subsidiaries. During those trips, Mr. Babe and other employees of Matthews and its subsidiaries

 9   attended meetings with Tesla employees at which Tesla confidential trade secrets were discussed.

10   Those trips to California were instrumental in Matthews’ misconduct including, but not necessarily

11   limited to, providing Matthews with access to Tesla’s confidential trade secrets, as well as giving

12   Matthews opportunities to compound the harm to Tesla by attempting to conceal its

13   misappropriation of those secrets from Tesla. Additional to those trips, employees of Matthews

14   regularly directed communications to Tesla in California, including by both email and

15   videoconference. Those communications were also instrumental to Matthews misconduct

16   including, but not necessarily limited to, providing Matthews with access to Tesla’s confidential

17   trade secrets, as well as giving Matthews opportunities to compound the harm to Tesla by

18   attempting to conceal its misappropriation of those secrets

19          8.      Matthews has consented in writing to venue in this District, which is sufficient to

20   establish that venue is proper in this District. Docksider, Ltd. v. Sea Tech., Ltd., 875 F.2d 762, 764

21   (9th Cir. 1989). Paragraph 12 of Exhibit A identifies this Court as an appropriate venue for disputes

22   “arising out of or relating to” that agreement and waives any challenge to venue.

23          9.      Even had Matthews not consented in writing to venue in this District, venue would

24   be proper in this District under 28 U.S.C. § 1391. Upon information and belief, Matthews’ contacts

25   with the Northern District of California would be sufficient to subject it to personal jurisdiction if

26   that District were a separate State. Said contacts include Matthews’ numerous trips,
27   communications, and other contacts directed to California, each of which was specifically directed

28   to Tesla’s operations in California.

                                                        3                     PLAINTIFF’S ORIGINAL COMPLAINT
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 1                                          DIVISIONAL ASSIGNMENT

 2            10.     Pursuant to Civil Local Rule 3-6(b), the undersigned notes that Paragraph 12 of

 3   Exhibit A identifies courts in Santa Clara County as appropriate venues for judicial actions “arising

 4   out of or relating to” that agreement, supporting assignment to this Court’s San Jose Division.

 5                                           FACTUAL BACKGROUND

 6            11.     Tesla is the world’s innovation and manufacturing leader for sustainable energy

 7   production, storage, and automotive technologies. From its roots in California, Tesla employs over

 8   100,000 employees globally. This case relates to a technology at the very heart of Tesla’s business

 9   which is its world-leading battery technology. Specifically, this case concerns unauthorized theft

10   and conversion by Matthews, a Tesla supplier, of Tesla’s proprietary dry-electrode battery

11   manufacturing technology.

12            12.     Tesla’s dry-electrode battery manufacturing technology is one of its most path-

13   breaking innovations.1 It is already reducing cost, energy consumption, and production cycle time

14   for Tesla’s assembly lines. This includes Tesla’s factory in Austin, which recently manufactured its

15   fifty millionth battery cell using dry-electrode manufacturing technology.

16            13.     Like any large manufacturer, Tesla relies on trusted suppliers to supply “pilot” (i.e.,

17   pre-mass-production) and assembly line machinery that Tesla deploys as needed. Matthews is one

18   of those suppliers. In 2019, Tesla selected Matthews to be one of its suppliers for equipment that

19   Tesla used to refine its dry-electrode battery manufacturing and to put it into mass-production.

20            14.     As a trusted supplier, Matthews had access to Tesla’s most confidential secrets

21   regarding Tesla’s proprietary dry-electrode manufacturing process. Matthews agreed, in writing,

22   that it would hold those secrets in the strictest confidence, and on that basis Tesla trusted Matthews

23   with highly confidential designs of industrial machinery necessary to Tesla’s proprietary

24   manufacturing process.

25            15.     However, Matthews betrayed that trust. Without Tesla’s knowledge, Matthews

26   applied Tesla’s confidential trade secrets to a variety of impermissible purposes, and in so doing
27
     1
         E.g., Tesla 4680 battery’s secret sauce; Dry electrode coating, Reuters.com (Mar. 10, 2023),
28   https://www.reuters.com/technology/tesla-4680-batterys-secret-sauce-dry-electrode-coating-2023-03-10/.

                                                              4                       PLAINTIFF’S ORIGINAL COMPLAINT
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 1   visited extraordinary harm on Tesla. First, Matthews improperly incorporated Tesla’s confidential

 2   trade secrets into patent filings. By so doing, Matthews unambiguously attempted to claim for itself

 3   both ownership and inventorship of Tesla’s confidential trade secrets. Still further, by filing these

 4   applications Matthews set into motion events that could lead (and in some cases have already led) to

 5   publication of certain Tesla confidential information regarding the dry-electrode manufacturing

 6   process. Matthews never sought Tesla’s permission to file these applications, nor even disclosed

 7   their existence until Tesla discovered the applications on its own by finding Tesla-proprietary

 8   secrets in published patent applications submitted by Matthews. Since discovering Matthews’

 9   improper conduct, Tesla has been working to block and/or delay publication of affected

10   applications, and only a subset of Tesla’s confidential information regarding dry-electrode

11   manufacturing has published thus far. Regardless, the result of Matthews’ improper conduct has

12   been both to deny Tesla patent rights to its own technology and, just as troubling, to share with the

13   public, including Tesla’s competitors, high-value technology that would not otherwise have been

14   accessible, leading to direct and serious harm to Tesla and its business.

15           16.     Second, Matthews disclosed Tesla’s confidential trade secrets to other companies,

16   including Tesla competitors. This included Matthews attempting to sell and, in some cases, actually

17   selling equipment for dry-electrode battery manufacturing to Tesla competitors, where said

18   equipment embodied Tesla’s confidential trade secrets. Such acts were improper because Tesla

19   never authorized, and in fact expressly proscribed, the sale or use of its confidential technology to

20   or for anyone other than itself. Similarly, Tesla never authorized, and in fact expressly proscribed,

21   any inspection or demonstration of any equipment or machines embodying Tesla trade secrets by or

22   to any Tesla competitor. As a result, certain of Tesla’s high-value confidential technology for dry-

23   electrode manufacturing has been conveyed, or is imminently about to be conveyed by Matthews,

24   without authorization to Tesla’s direct competitors, resulting in direct and serious harm to Tesla and

25   its business.

26   ///
27   ///

28   ///

                                                        5                    PLAINTIFF’S ORIGINAL COMPLAINT
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 1                      COUNT I—TRADE SECRET MISAPPROPRIATION
                  VIA IMPROPER PATENT APPLICATIONS (18 U.S.C. § 1836 et seq.)
 2

 3          17.      Tesla realleges and incorporates by reference the foregoing paragraphs as if fully set

 4   forth herein.

 5          18.      The Defend Trade Secrets Act (“DTSA,” 18 U.S.C. § 1836 et seq.) prohibits the

 6   threatened or actual misappropriation of trade secrets that are related to a product or service used or

 7   intended for use in interstate commerce.

 8          19.      Tesla has developed and preserved certain confidential and proprietary information

 9   that constitutes one or more trade secrets, as that term is applied in DTSA litigation.

10          20.      Tesla’s protectable trade secrets include, but are not limited to, confidential details

11   relating to industrial processes for “dry-electrode” battery manufacture.

12          21.      Those trade secrets relate to products or services used or intended for use in

13   interstate commerce including, but not limited to, electric vehicle (“EV”) batteries used in interstate

14   commerce.

15          22.      Tesla has taken reasonable measures to keep secret and prevent disclosure of its trade

16   secrets and other confidential and proprietary information, including requiring that its suppliers who

17   may have access to such information sign confidentiality agreements.

18          23.      Tesla’s trade secret information is not generally known to individuals or entities

19   outside of Tesla and those companies and/or individuals who have committed to maintaining the

20   secrecy of such information, and that information derives independent economic value from not

21   being generally known to or reasonably ascertainable through proper means by another person who

22   could obtain such economic value from its disclosure or use.

23          24.      During its work with Tesla, Matthews was given access to, and acquired knowledge

24   of, Tesla’s trade secrets for the exclusive purpose of collaborating with Tesla and for the exclusive

25   benefit of Tesla.

26          25.      Matthews had an express duty to maintain the secrecy of those trade secrets, and to
27   limit the use thereof. It also knew, or had reason to know, that Tesla intended and expected that the

28   secrecy of its trade secrets would be maintained and strictly observed.

                                                         6                     PLAINTIFF’S ORIGINAL COMPLAINT
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 1          26.      Matthews has misappropriated and has threatened to misappropriate Tesla’s trade

 2   secrets improperly, and has wrongfully used or will wrongfully use such trade secrets to Matthews’

 3   material benefit, to the direct and material detriment of Tesla. Such misappropriation was both

 4   knowing and willful. Specifically, Matthews has improperly filed patent applications incorporating

 5   Tesla’s trade secrets without Tesla’s express or implied consent, and specifically contradicting its

 6   duty to maintain the secrecy of those trade secrets, and to limit use thereof.

 7          27.      Tesla has suffered, and will continue to suffer, irreparable harm in lost business

 8   opportunities and in having its internal confidential and trade secret information incorporated into

 9   patent applications by Matthews, thus purporting to give Matthews ownership of technology that

10   should belong wholly to Tesla. Tesla has also suffered, and will continue to suffer irreparable harm

11   in lost business opportunities and in having its internal confidential and trade secrets made

12   available, or proposed to be made available, to Tesla’s direct competitors.

13          28.      Matthews’ violations of the DTSA relating to its filing of improper patent

14   applications pose an ongoing and imminent threat of irreparable harm to Tesla, including

15   diminution of value of its trade secrets, lost profits, diminution of Tesla’s business value, and unfair

16   diminishment of its competitive advantage.

17          29.      Unless Matthews is enjoined from continuing its unlawful actions, Tesla will suffer

18   immediate and irreparable harm. It also comprises monetary damages in an amount far exceeding

19   $75,000, which Tesla conservatively estimates will exceed $1 billion.

20
                     COUNT II—TRADE SECRET MISAPPROPRIATION
21            VIA IMPROPER PATENT APPLICATIONS (Cal. Civ. Code § 3426 et seq.)

22          30.      Tesla realleges and incorporates by reference the foregoing paragraphs as if fully set

23   forth herein.

24          31.      California’s Uniform Trade Secrets Act (“CUTSA,” Cal. Civ. Code § 3426 et seq.)

25   prohibits the threatened or actual misappropriation of trade secrets.

26          32.      Tesla has developed and preserved certain confidential and proprietary information
27   that constitutes one or more trade secrets, as that term is applied in CUTSA litigation.

28

                                                        7                     PLAINTIFF’S ORIGINAL COMPLAINT
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 1          33.     Tesla’s protectable trade secrets include, but are not limited to, confidential details

 2   relating to industrial processes for “dry-electrode” battery manufacture.

 3          34.     Those trade secrets relate to products or services used or intended for use in

 4   interstate commerce including, but not limited to, electric vehicle (“EV”) batteries.

 5          35.     Tesla has taken efforts that are reasonable under the circumstances to keep secret and

 6   prevent disclosure of its trade secrets and other confidential and proprietary information, including

 7   requiring that its suppliers who may have access to such information sign confidentiality

 8   agreements.

 9          36.     Tesla’s trade secret information is not generally known to individuals or entities

10   outside of Tesla and those companies and/or individuals who have committed to maintaining the

11   secrecy of such information, and that information derives independent economic value from not

12   being generally known to the public or to other persons who could obtain economic value from its

13   disclosure or use.

14          37.     During its work with Tesla, Matthews was given access to, and acquired knowledge

15   of, Tesla’s trade secrets for the exclusive purpose of collaborating with Tesla and for the exclusive

16   benefit of Tesla.

17          38.     Matthews had an express duty to maintain the secrecy of those trade secrets, and to

18   limit the use thereof. It also knew, or had reason to know, that Tesla intended and expected that the

19   secrecy of its trade secrets would be maintained and strictly observed.

20          39.     Matthews has misappropriated and has threatened to misappropriate Tesla’s trade

21   secrets improperly, and has wrongfully used or will wrongfully use such trade secrets to Matthews’

22   material benefit, to the direct and material detriment of Tesla. Such misappropriation was both

23   knowing and willful. Specifically, Matthews has improperly filed patent applications incorporating

24   Tesla’s trade secrets without Tesla’s express or implied consent, and specifically contradicting duty

25   to maintain the secrecy of those trade secrets, and to limit use thereof.

26          40.     Tesla has suffered, and will continue to suffer, irreparable harm in lost business
27   opportunities and in having its internal confidential and trade secret information incorporated into

28   patent applications by Matthews, thus purporting to give Matthews ownership of technology that

                                                        8                        PLAINTIFF’S ORIGINAL COMPLAINT
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 1   should belong wholly to Tesla. Tesla has also suffered, and will continue to suffer irreparable harm

 2   in lost business opportunities and in having its internal confidential and trade secrets made

 3   available, or proposed to be made available, to Tesla’s direct competitors.

 4          41.       Matthews’ violations of the CUTSA pose an ongoing and imminent threat of

 5   irreparable harm to Tesla, including diminution of value of its trade secrets, lost profits, diminution

 6   of Tesla’s business value, and unfair diminishment of its competitive advantage.

 7          42.       Unless Matthews is enjoined from continuing its unlawful actions, Tesla will suffer

 8   immediate and irreparable harm. It also comprises monetary damages in an amount far exceeding

 9   $75,000, which Tesla conservatively estimates will exceed $1 billion.

10
                          COUNT III—TRADE SECRET MISAPPROPRIATION
11                   VIA IMPROPER BUSINESS ACTIVITIES (18 U.S.C. § 1836 et seq.)

12          43.       Tesla realleges and incorporates by reference the foregoing paragraphs as if fully set

13   forth herein.

14          44.       The Defend Trade Secrets Act (“DTSA,” 18 U.S.C. § 1836 et seq.) prohibits the

15   threatened or actual misappropriation of trade secrets that are related to a product or service used or

16   intended for use in interstate commerce.

17          45.       Tesla has developed and preserved certain confidential and proprietary information

18   that constitutes one or more trade secrets, as that term is applied in DTSA litigation.

19          46.       Tesla’s protectable trade secrets include, but are not limited to, confidential details

20   relating to industrial processes for “dry-electrode” battery manufacture.

21          47.       Those trade secrets relate to products or services used or intended for use in

22   interstate commerce including, but not limited to, electric vehicle (“EV”) batteries used in interstate

23   commerce.

24          48.       Tesla has taken reasonable measures to keep secret and prevent disclosure of its trade

25   secrets and other confidential and proprietary information, including requiring that its suppliers who

26   may have access to such information sign confidentiality agreements.
27          49.       Tesla’s trade secret information is not generally known to individuals or entities

28   outside of Tesla and those companies and/or individuals who have committed to maintaining the

                                                          9                     PLAINTIFF’S ORIGINAL COMPLAINT
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 1   secrecy of such information, and that information derives independent economic value from not

 2   being generally known to or reasonably ascertainable by another person who could obtain such

 3   economic value from its disclosure or use.

 4          50.     During its work with Tesla, Matthews was given access to, and acquired knowledge

 5   of, Tesla’s trade secrets for the exclusive purpose of collaborating with Tesla and for the exclusive

 6   benefit of Tesla.

 7          51.     Matthews had an express duty to maintain the secrecy of those trade secrets, and to

 8   limit the use thereof. It also knew, or had reason to know, that Tesla intended and expected that the

 9   secrecy of its trade secrets would be maintained and strictly observed.

10          52.     Matthews has misappropriated and has threatened to misappropriate Tesla’s trade

11   secrets improperly, and has wrongfully used or will wrongfully use such trade secrets to Matthews’

12   material benefit, to the direct and material detriment of Tesla. Such misappropriation was both

13   knowing and willful. Specifically, Matthews sold, attempted to sell, and/or demonstrated to

14   companies other than Tesla machines and other technologies embodying Tesla’s trade secrets

15   without Tesla’s express or implied consent, and specifically contradicting its duty to maintain the

16   secrecy of those trade secrets, and to limit use thereof.

17          53.     Tesla has suffered, and will continue to suffer, irreparable harm in lost business

18   opportunities and in having its internal confidential and trade secret information made available, or

19   proposed to be made available, to Tesla’s direct competitors.

20          54.     Matthews’ violations of the DTSA relating to its disclosure of Tesla’s trade secrets,

21   including but not necessarily limited to its improper sale of machines/equipment embodying Tesla

22   trade secrets, pose an ongoing and imminent threat of irreparable harm to Tesla, including

23   diminution of value of its trade secrets, lost profits, diminution of Tesla’s business value, and unfair

24   diminishment of its competitive advantage.

25          55.     Unless Matthews is enjoined from continuing its unlawful actions, Tesla will suffer

26   immediate and irreparable harm. It also comprises monetary damages in an amount far exceeding
27   $75,000, which Tesla conservatively estimates will exceed $1 billion.

28

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 1                    COUNT IV—TRADE SECRET MISAPPROPRIATION
                VIA IMPROPER BUSINESS ACTIVITIES (Cal. Civ. Code § 3426 et seq.)
 2

 3          56.      Tesla realleges and incorporates by reference the foregoing paragraphs as if fully set

 4   forth herein.

 5          57.      The California Uniform Trade Secrets Act (“CUTSA,” Cal. Civ. Code § 3426

 6   et seq.) prohibits the threatened or actual misappropriation of trade secrets.

 7          58.      Tesla has developed and preserved certain confidential and proprietary information

 8   that constitutes one or more trade secrets, as that term is applied in CUTSA litigation.

 9          59.      Tesla’s protectable trade secrets include, but are not limited to, confidential details

10   relating to industrial processes for “dry-electrode” battery manufacture.

11          60.      Those trade secrets relate to products or services used or intended for use in

12   interstate commerce including, but not limited to, electric vehicle (“EV”) batteries.

13          61.      Tesla has taken efforts that are reasonable under the circumstances to keep secret and

14   prevent disclosure of its trade secrets and other confidential and proprietary information, including

15   requiring that its suppliers who may have access to such information sign confidentiality

16   agreements.

17          62.      Tesla’s trade secret information is not generally known to individuals or entities

18   outside of Tesla and those companies and/or individuals who have committed to maintaining the

19   secrecy of such information, and that information derives independent economic value from not

20   being generally known to the public or to other persons who could obtain economic value from its

21   disclosure or use.

22          63.      During its work with Tesla, Matthews was given access to, and acquired knowledge

23   of, Tesla’s trade secrets for the exclusive purpose of collaborating with Tesla and for the exclusive

24   benefit of Tesla.

25          64.      Matthews had an express duty to maintain the secrecy of those trade secrets, and to

26   limit the use thereof. It also knew, or had reason to know, that Tesla intended and expected that the
27   secrecy of its trade secrets would be maintained and strictly observed.

28

                                                        11                     PLAINTIFF’S ORIGINAL COMPLAINT
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 1          65.      Matthews has misappropriated and has threatened to misappropriate Tesla’s trade

 2   secrets improperly, and has wrongfully used or will wrongfully use such trade secrets to Matthews’

 3   material benefit, to the direct and material detriment of Tesla. Such misappropriation was both

 4   knowing and willful. Specifically, Matthews sold, attempted to sell, and/or demonstrated to

 5   companies other than Tesla machines and other technologies embodying Tesla’s trade secrets

 6   without Tesla’s express or implied consent, and specifically contradicting duty to maintain the

 7   secrecy of those trade secrets, and to limit use thereof.

 8          66.      Tesla has suffered, and will continue to suffer, irreparable harm in lost business

 9   opportunities and in having its internal confidential and trade secret information made available, or

10   proposed to be made available, to Tesla’s direct competitors.

11          67.      Matthews’ violations of the CUTSA pose an ongoing and imminent threat of

12   irreparable harm to Tesla, including diminution of value of its trade secrets, lost profits, diminution

13   of Tesla’s business value, and unfair diminishment of its competitive advantage.

14          68.      Unless Matthews is enjoined from continuing its unlawful actions, Tesla will suffer

15   immediate and irreparable harm. It also comprises monetary damages in an amount far exceeding

16   $75,000, which Tesla conservatively estimates will exceed $1 billion.

17                                COUNT V—BREACH OF CONTRACT

18          69.      Tesla realleges and incorporates by reference the foregoing paragraphs as if fully set

19   forth herein.

20          70.      Tesla and Matthews are parties to several documents titled “Mutual Non-Disclosure

21   Agreement” (the “NDAs”) attached as Exhibit A–C. Per the NDAs, in exchange for receiving

22   access to Tesla’ confidential and proprietary information, Matthews agreed to protect that

23   information and not disclose it to those not authorized to receive it, or to use it in any manner not

24   authorized by Tesla. Matthews also agreed to similar restrictions in other contracts between itself

25   and Tesla. In reliance on Matthews’ agreement, Tesla provided its confidential and proprietary

26   information to Matthews. Tesla has performed all its obligations under each of the NDAs.
27          71.      Matthews has breached its contract to protect Tesla’s confidential information by (1)

28   improperly incorporating Tesla’s confidential trade secrets into patent filings, and (2) by disclosing

                                                        12                    PLAINTIFF’S ORIGINAL COMPLAINT
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 1   Tesla’s confidential trade secrets to other companies, including Tesla competitors. This includes

 2   Matthews attempting to sell and/or selling equipment for dry-electrode battery manufacturing to

 3   Tesla competitors, where said equipment embodied Tesla’s confidential trade secrets. No later than

 4   November 10, 2023, Tesla demanded that Matthews cease such acts and resume compliance with its

 5   contractual obligations. Matthews refused and continues to refuse to comply with the NDAs.

 6          72.        Matthews’ improper acts have visited, and may imminently visit, substantial harm

 7   upon Tesla. That harm comprises immediate, irreparable harms to Tesla. It also comprises

 8   monetary damages in an amount far exceeding $75,000, which Tesla conservatively estimates will

 9   exceed $1 billion.

10         COUNT VII—UNFAIR BUSINESS PRACTICES (Cal. Bus. & Prof. Code § 17200)

11          73.        Tesla realleges and incorporates by reference the foregoing paragraphs as if fully set

12   forth herein.

13          74.        Unfair business practices include any unfair, unlawful, or fraudulent business act or

14   practice. Matthews’ misconduct, including both its improper filing of patent applications

15   containing Tesla’s proprietary and confidential information and its sales, attempts to sell, and/or

16   demonstrations to others of machines embodying Tesla’s proprietary and confidential information,

17   are unfair business practices because they are unlawful, unfair, and/or fraudulent business acts. By

18   and through those unfair, unlawful, and/or fraudulent business practices, Matthews has obtained

19   valuable recompense, and has deprived Tesla of valuable rights and benefits guaranteed by law, all

20   to Tesla’s detriment. As a direct and proximate result of those acts and practices, Matthews has

21   received, or will receive, income, profits, and other benefits associated with those practices that it

22   would not have received if it had not engaged in the violations of the law described herein.

23   Matthews has also obtained an unfair advantage over similar businesses that have not engaged in

24   such practices.

25          75.        A substantial part of Matthews’ misconduct occurred in the State of California. This

26   includes, but is not limited to, Matthews’ representations (both before and after the improper
27   conduct described herein) that it would comply with its confidentiality obligations to Tesla, as well

28   as Tesla’s demonstration to Matthews of the confidential information and proprietary information

                                                         13                    PLAINTIFF’S ORIGINAL COMPLAINT
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 1   that Matthews misappropriated. Further, the injuries visited on Tesla by Matthews’ unfair and

 2   improper conduct occurred in California, which is the location of Tesla’s research and development

 3   for dry-electrode battery technology.

 4          76.     Matthews conducts business in California, including but not limited to its business

 5   with Tesla. Additionally, Matthews specifically directed visits and correspondence relating its

 6   misconduct to California.

 7          77.     Matthews’ improper acts have visited, and may imminently visit, substantial harm

 8   upon Tesla. That harm comprises immediate, irreparable harms to Tesla. It also comprises

 9   monetary damages in an amount far exceeding $75,000, which Tesla conservatively estimates will

10   exceed $1 billion.

11                                           PRAYER AND RELIEF

12          WHEREFORE, Tesla respectfully requests that this Court enter:

13                  (a)      A judgment in favor of Tesla that Matthews has misappropriated Tesla’s

14   trade secrets in connection with Matthews’ improper filing of patent applications incorporating

15   Tesla’s confidential and proprietary technology;

16                  (b)      A judgment in favor of Tesla that Matthews has also misappropriated Tesla’s

17   trade secrets in connection with Matthews’ sale, offers to sell, and/or demonstrations to others of

18   machines embodying Tesla’s confidential and proprietary technology;

19                  (c)      A judgment in favor of Tesla that Matthews has breached its contractual

20   obligations to Tesla;

21                  (d)      A judgment in favor of Tesla that Matthews has engaged in unfair business

22   practice proscribed by California law;

23                  (e)      During the pendency of this action, a preliminary injunction ordering

24   Matthews and all those acting in concert with it to cease all sales, offers to sell, and/or

25   demonstrations to others of machines embodying any of Tesla’s confidential and proprietary

26   technology;
27                  (f)      During the pendency of this action, a preliminary injunction ordering

28   Matthews to transfer ownership of all patent applications incorporating any of Tesla’s confidential

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 1   and proprietary technology, and to otherwise take any and all steps necessary to prevent further

 2   publication of any of Tesla’s confidential and proprietary technology;

 3                    (g)   On a final hearing, a permanent injunction ordering Matthews and all those

 4   acting in concert with it to cease all sales, offers to sell, and/or demonstrations to others of machines

 5   embodying any of Tesla’s confidential and proprietary technology;

 6                    (h)   On a final hearing, a permanent injunction ordering Matthews to transfer

 7   ownership of all patent applications incorporating any of Tesla’s confidential and proprietary

 8   technology, and to otherwise take any and all steps necessary to prevent further publication of any

 9   of Tesla’s confidential and proprietary technology;

10                    (i)   An order requiring Matthews to pay Tesla its damages, costs, expenses, and

11   pre-judgment and post-judgment interest for Matthews’ improper acts;

12                    (j)   An order requiring Matthews to disgorge any and all unjust enrichment;

13                    (k)   A judgment in favor of Tesla that Matthews misconduct has been knowing,

14   willful, and malicious, and appropriately enhancing any damages award; and

15                    (l)   Any and all other relief as the Court may deem appropriate and just under the

16   circumstances.

17                                      DEMAND FOR JURY TRIAL

18          Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

19   any issues so triable by right.

20

21   Dated: June 14, 2024                           FISH & RICHARDSON P.C.

22
                                                    By: /s/ David M. Barkan
23                                                      David M. Barkan
24
                                                    Attorney for Plaintiff,
25                                                  TESLA, INC.

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